Case 1:22-cv-21268-JLK Document 1 Entered on FLSD Docket 04/24/2022 Page 1 of 16




                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                     MIAMI DIVISION
                                        CASE NO:

 JAMES NICHOLSON,
         Plaintiff,
 v.
 CITY OF MIAMI, a political subdivision of
 the State of Florida, LESTER A. BOHNENBLUST,
 individually and in his official capacity as a Corporal
 with the City of Miami Police Department, and
 JORGE COLINA, individually and in his official capacity
 as Chief of the City of Miami Police Department.

         Defendants.
 _________________________________________________/
                                           COMPLAINT
         Plaintiff, JAMES NICHOLSON, sues Defendants, CITY OF MIAMI, a political

 subdivision of the State of Florida, LESTER A. BOHNENBLUST, individually and in his official

 capacity as a Corporal with the City of Miami Police Department, and JORGE COLINA, in his

 official capacity as Chief of the City of Miami Police Department for damages, jointly and

 severally, demands trial by jury, and alleges:

                                   NATURE OF THE ACTION

      1. This is an action for damages arising from an unlawful arrest, use of force, intended to

 cause injury and severe emotional distress by an officer with the City of Miami Police Department

 that occurred on or about May 23, 2018, while Plaintiff was employed as a Nurse Manager at

 Jackson Memorial Hospital’s Behavioral Health Child and Adolescent Unit. This action alleges

 violations of federal civil rights law, 42 U.S.C.§ 1983, and the laws of the State of Florida. The

 Plaintiff seeks in excess of $75,000, exclusive of interest and costs.



                                                   1
Case 1:22-cv-21268-JLK Document 1 Entered on FLSD Docket 04/24/2022 Page 2 of 16




                                      JURISDICTION AND VENUE

    2. This action is brought pursuant to 42 U.S.C.§§ 1983 and 1988, the First, Fourth, and

 Fourteenth Amendments to the United States Constitution and the tort laws of Florida. Jurisdiction

 is founded on 28 U.S.C. §§ 1331, 1343, 42 U.S.C. § 1983 and under the tort laws of Florida.

 Supplemental jurisdiction for additional state law claims is proper pursuant to 28 U.S.C. § 1367(a)

 because they form part of the same case or controversy. Plaintiff assert multiple state tort law

 claims.

    3. Under 28 U.C.S. § 1391(b)(2), venue lies in the United States District Court for the

 Southern District of Florida, Miami Division, because it is the judicial district and division in

 which a substantial part of the events or omissions giving rise to the claims occurred.

    4. Plaintiff has complied with all conditions precedent required by § 768.28, Florida Statutes.

                                                  PARTIES

    5. The Plaintiff, JAMES NICHOLSON (hereinafter referred to as “Plaintiff or

 NICHOLSON”), at all times material hereto, has been a resident of Miami-Dade County, Florida,

 over the age of eighteen years and otherwise sui juris.

    6. Defendant City of Miami (hereinafter referred to as “Defendant City”) is a political

 subdivision of the State of Florida, and at all relevant times had ultimate authority over the City of

 Miami Police Department and other defendants. Defendant City was responsible for the hiring,

 retention, training, supervision, discipline, and conduct of the individual defendants, as all of them

 were employed by the City of Miami Police Department at all relevant times.

    7. Defendant LESTER BOHNENBLUST (hereinafter referred to as “Defendant

 BOHNENBLUST”) was a duly appointed law enforcement officer of the City of Miami Police

 Department having the rank of Corporal, and at all times material hereto was acting under color of



                                                   2
Case 1:22-cv-21268-JLK Document 1 Entered on FLSD Docket 04/24/2022 Page 3 of 16




 law, to wit: under the color of statutes, ordinances, regulations, policies, practices, customs and

 usages of the City of Miami Police Department and/or the State of Florida. Defendant

 BOHNENBLUST, is being sued in his individual capacity.

    8. Defendant JORGE COLINA (hereinafter referred to as “Defendant COLINA”) is the

 former Chief of the City of Miami Police Department. At all times material hereto Defendant

 COLINA was responsible for adopting and implementing rules and regulations for all City of

 Miami police officers and ensuring compliance with those rules and regulations. Defendant

 COLINA was responsible for the training and supervision of City of Miami police officers, and

 for initiating corrective action for violations of the rules and regulations.

                                        GENERAL ALLEGATIONS

    9. On May 23, 2018, Plaintiff was employed as a Nursing Manager at the Behavioral Unit at

 Jackson Memorial Hospital in Miami, Florida, when he was contacted by the nurse’s station for

 assistance with a parent who had requested an evaluation of a juvenile that had been discharged

 from the hospital the previous day.

    10. The juvenile was evaluated for a second time, and it was determined that the juvenile did

 not meet criteria for inpatient treatment.

    11. The juvenile was thereafter discharged from the facility with follow-up plans.

    12. NICHOLSON explained this to the parent and believed that the parent understood the

 decision and that everything was settled.

    13. Shortly thereafter, NICHOLSON observed defendant BOHNENBLUST interacting with

 the juvenile and her parent inside the secured psychiatric unit of the hospital.

    14. NICHOLSON approached and spoke with Defendant BOHNENBLUST and the family




                                                    3
Case 1:22-cv-21268-JLK Document 1 Entered on FLSD Docket 04/24/2022 Page 4 of 16




 and asked them to leave the secured unit because it is illegal to have a juvenile inside a locked

 psychiatric unit if the juvenile does not meet the criteria for commitment.

     15. Defendant BOHNENBLUST told NICHOLSON that he had a completed Marchman Act

 form and requested that the juvenile be committed pursuant to said form.

     16. NICHOLSON informed Defendant BOHNENBLUST that he was going to ask for

 assistance from the risk manager, but in the interim, he needed the juvenile to leave the secured

 unit because the juvenile had already been evaluated.

     17. Defendant BOHNENBLUST ordered NICHOLSON to surrender his identification badge.

     18. When NICHOLSON refused to provide his identification badge to Defendant

 BOHNENBLUST, Defendant BOHNENBLUST, without provocation or lawful reason, grabbed

 NICHOLSON by the collar of his suit jacket and pushed and pulled him down the hallway.

     19. Defendant BOHNENBLUST told NICHOLSON that he was placing him under arrest.

     20. Defendant BOHNENBLUST then grabbed NICHOLSON by his front jacket and held him

 against the wall.

     21. NICHOLSON told Defendant BOHNENBLUST to “get off of me, let go of me, and to

 stop it.”

     22. At that time, Defendant BOHNENBLUST released NICHOLSON; however, when

 NICHOLSON attempted to walk away, Defendant BOHNENBLUST grabbed NICHOLSON and

 slammed him to the floor causing an injury to his left knee.

     23. After NICHOLSON stood up he was handcuffed by another City of Miami police officer

 that had arrived on the scene after Defendant BOHNENBLUST called for back-up.

     24. Once supervising City of Miami police officers arrived on the scene NICHOLSON was

 released from custody and the handcuffs were removed from his wrists.



                                                  4
Case 1:22-cv-21268-JLK Document 1 Entered on FLSD Docket 04/24/2022 Page 5 of 16




    25. Defendant BOHNENBLUST was subsequently arrested and subsequently terminated by

 the City of Miami Police Department based on his conduct in this matter.

    26. On January 3, 2019, Defendant BOHNENBLUST was charged by the Miami-Dade State

 Attorney’s Office with Battery on a Person 65 years of age or older and with False Imprisonment

 (Case No: F18-24682).

    27. On April 16, 2019, City of Miami Police Department completed its internal affairs

 investigation into Plaintiff’s allegations and found that cause existed to support the termination of

 Defendant BOHNENBUST by finding that he “(d) willfully violated any of the provisions of the

 Civil Service law or rules of the Board; (e) Has violated any awful and reasonable official

 regulation or order, or failed to obey any lawful or reasonable direction made and given by his/her

 superior, where such violation or failure to obey amounts to: (2) a serious breach of proper

 discipline; or (3) Resulted, or reasonably might be expected to result, in loss or injury to the City

 or to the public or to the prisoners or wards of the City, or: (h) Has been guilty of actions which

 amount to insubordination or disgraceful conduct, whether committed on duty or off; (i) Has been

 wantonly offensive in conduct or language toward the public or City officers or employees; (k) Is

 incompetent, negligent, or inefficient in the performance of the duties of the position held.

    28. On June 3, 2019, Defendant BOHNENBLUST proceeded to trial.

    29. On June 7, 2019, Defendant BOHNENBLUST was found guilty on both counts.

    30. On June 19, 2019, the Court adjudicated Defendant BOHNENBLUST guilty on both

 counts.

    31. On July 26, 2019, the Court sentenced Defendant BOHNENBLUST to 45 days jail,

 followed by 3 years probation.




                                                  5
Case 1:22-cv-21268-JLK Document 1 Entered on FLSD Docket 04/24/2022 Page 6 of 16




                                           FEDERAL CLAIMS

                                                  COUNT I

                  False Imprisonment/Arrest-Fourth Amendment (42 U.S.C.§ 1983)
                                    (Defendant Bohnenblust)

    32. NICHOLSON hereby incorporates paragraphs 1-31 as if specifically pled herein.

    33. At no time did there exist probable cause to seize, arrest or detain NICHOLSON.

    34. NICHOLSON committed no act justifying his seizure, arrest or unlawful detention.

    35. As a direct and proximate result of the illegal detention and false imprisonment and arrest

 of NICHOLSON, NICHOLSON suffered physical and emotional harm, pain and suffering,

 financial loss and reputational damage resulting in loss of future earning capacity.

        WHEREFORE, Plaintiff NICHOLSON seeks entry of this Court’s order of final

 judgment against Defendant BOHNENBLUST for compensatory and punitive damages,

 attorney’s fees, costs, and such other relief that the Court deems just and proper.

                                             COUNT II

                     Excessive Use of Force-Fourth Amendment-(42 U.S.C.§ 1983)
                                       (Defendant Bohnenblust)


    36. NICHOLSON hereby incorporates paragraphs 1-31 as if specifically pled herein.

    37. NICHOLSON was physically taken into custody by BOHNENBLUST.

    38. Defendant BOHNENBLUST’s actions of slamming NICHOLSON to the floor, causing

 injury to his left leg, was unjustified, unreasonable, and excessive.

    39. At no time during the events giving rise to this action did NICHOLSON commit any act,

 motion or gesture to cause Defendant BOHNENBLUST to use force, including excessive force,

 on his person.

    40. The actions employed by Defendant BOHNENBLUST in detaining and arresting

                                                   6
Case 1:22-cv-21268-JLK Document 1 Entered on FLSD Docket 04/24/2022 Page 7 of 16




 NICHOLSON were excessive.

     41. As a direct and proximate result of the excessive force used by Defendant

 BOHNENBLUST in arresting and detaining NICHOLSON, NICHOLSON suffered pain and

 suffering, as well as temporary and/or permanent physical injury, loss of income, incurred medical

 expenses, loss of future earning capacity, and humiliation and damage to his reputation.

         WHEREFORE, Plaintiff NICHOLSON seeks entry of this Court’s order of final

 judgment against Defendant BOHNENBLUST for compensatory and punitive damages,

 attorney’s fees, costs, and such other relief that the Court deems just and proper.

                                               COUNT III

                          Policy of Failing to Investigate/Discipline-(42 U.S.C.§ 1983)
                                           (Defendant City of Miami)


     42. NICHOLSON re-alleges paragraphs 1 through 31 above as if specifically pled herein.

     43. Given the position of authority of City of Miami police officers, which permits them to,

 among other things, shoot and/or kill individuals, conduct searches and seizures of property,

 effectuate arrests, exercise control of the person(s) arrested, the Defendant CITY OF MIAMI had

 a legal duty to:

                    a. thoroughly and impartially investigate allegations of misconduct made against

                       police officers;

                    b. appropriately discipline police officers who are unable or unwilling to respect

                       the constitutional rights of individuals or who violate constitutional rights, law

                       and/or department policy, including termination for repeat violators; and

                    c. prevent police officers who are unable or unwilling to respect the

                       constitutional rights of individuals, laws and rules and regulations, from



                                                     7
Case 1:22-cv-21268-JLK Document 1 Entered on FLSD Docket 04/24/2022 Page 8 of 16




                    performing tasks related to dealing with he public and the citizens within the

                    City of Miami,

    44. At all times material hereto, the Defendant CITY OF MIAMI, through the Internal Affairs

 division of its police department, had an unwritten custom, policy, or practice of failing to properly

 and impartially investigate use of force reports and/or allegations of misconduct against, and/or

 administer appropriate discipline to, offending police officers.

    45. It was the unwritten custom or policy of the Defendant CITY OF MIAMI to accept a police

 officer’s version of events surrounding that officer’s use of force and/or an allegation of

 misconduct, and/or to make disciplinary decisions based on factors other than objective and

 impartial assessment of the facts underlying allegations of misconduct, and/or to allow police

 officers with a history of complaints of excessive force, unlawful arrests, and other violations of

 laws, rules of regulations to continue to serve in positions where they were likely to continue to

 engage in such misconduct.

    46. The Defendant CITY OF MIAMI’s unwritten policy, practice or custom of failing to

 impartially investigate an officer’s use of force and/or allegations of police misconduct, and failing

 to discipline, train and/or supervise officers involved in such conduct is the direct cause of such

 violations as it has created an atmosphere where officers can violate rights without fear of

 supervision or discipline.

    47. Prior to May 23, 2018, the Defendant CITY OF MIAMI had become aware of numerous

 use of force reports regarding Defendant BOHNENBLUST. These reports were investigated and

 reviewed by the City of Miami Police Department’s Internal Affairs division.

    48. Despite a clear and obvious pattern of violations of rules and regulations resulting in abuse




                                                   8
Case 1:22-cv-21268-JLK Document 1 Entered on FLSD Docket 04/24/2022 Page 9 of 16




 of citizen’s rights by Defendant BOHNENBLUST, the Defendant CITY OF MIAMI remained

 deliberately indifferent, and continued to conduct non-objective investigations resulting in

 findings intended to circumvent or avoid its responsibility to discipline, reprimand or remediate

 Defendant BOHNENBLUST’s unlawful behavior.

    49. Based on the numerous and multitude of reports of use of force against Defendant

 BOHNENBLUST, the Defendant CITY OF MIAMI knew, or should have known, that its failure

 to conduct objective investigations or otherwise take action to discipline, reprimand or to

 effectively remediate his behavior, continued violations against the public by Defendant

 BOHNENBLUST were a certainty.

    50. The Defendant CITY OF M IAMI’s knowing indifference to the certainty of continued

 failure to adhere to its rules and regulations was the direct and proximate cause of the wrongful

 acts of Defendant BOHNENBLUST on May 23, 2018 and was itself a deprivation of

 NICHOLSON’s rights.

    51. As direct and proximate result of Defendant CITY OF MIAMI’s deprivation of

 NICHOLSON’s rights he suffered physical, emotional, financial and reputational injury.

        WHEREFORE, NICHOLSON demands judgment against Defendant CITY OF MIAMI

 for compensatory damages, costs, reasonable attorneys’ fees pursuant to 42 U.S.C. § 1988, and

 such other and further relief as the Court deems appropriate.

                                            COUNT IV

                      Policy of Failing to Investigate/Discipline-(42 U.S.C.§ 1983)
                                        (Defendant Jorge Colina)

    52. NICHOLSON incorporates paragraphs 1-31 above as if fully pled herein.

    53. At all times material hereto, Defendant COLINA was charged with the plenary




                                                 9
Case 1:22-cv-21268-JLK Document 1 Entered on FLSD Docket 04/24/2022 Page 10 of 16




  responsibilities to adopt and implement policies, practices, and procedures intended to ensure the

  protection of rights of the public by identifying City of Miami police officers who demonstrate an

  unwillingness or inability to obey City of Miami Police Department rules and regulations which

  may result in violations of constitutional and legal rights.

     54. As such, Defendant COLINA owed a legal duty to NICHOLSON to take all lawful

  measures within his power as the City of Miami Chief of Police to protect him from deprivations

  of rights by exercising reasonable care to identify, supervise, train and/or eliminate officers who

  continually cause such abuses.

     55. At all times material hereto, it was apparent that Defendant BOHNENBLUST was engaged

  in a wide-spread pattern of violations of citizen’s rights, including, but not limited to those

  materially similar to the violations Defendant BOHNENBLUST committed against

  NICHOLSON.

     56. Through a multitude of use of force reports and investigations conducted by the City of

  Miami Police Internal Affairs Division, Defendant COLINA knew, or should have known, that

  Defendant BOHNENBLUST was engaged in a pattern or violations of the City of Miami’s rules

  and regulations, and that there was a certainty that Defendant BOHNENBLUST would continue

  to engage in such violations leading to the abuse of citizens’ rights in the future.

     57. Despite this knowledge, or being reasonably charged with this knowledge, Defendant

  COLINA failed to act to prevent the foreseeable abuses by Defendant BOHNENBLUST. As such,

  at all times material hereto, Defendant COLINA has remained deliberately indifferent to the

  reasonable certainty that Defendant BOHNENBLUST would avail himself of the opportunity to

  violate NICHOLSON’s rights as described herein.

     58. Defendant COLINA’s deliberate indifference to the abuses by Defendant



                                                   10
Case 1:22-cv-21268-JLK Document 1 Entered on FLSD Docket 04/24/2022 Page 11 of 16




  BOHNENBLUST that occurred prior to May 23, 2018 is the direct and proximate cause of the

  injuries to NICHOLSON because acceptance and reasonable action with regard to the

  responsibilities for which he is charged would have certainly prevented such injuries.

     WHEREFORE, NICHOLSON demands judgment against Defendant COLINA for

  compensatory and punitive damages, pain and suffering, costs, reasonable attorneys’ fees pursuant

  to 42 U.S.C. § 1988, and such other and further relief as the Court deems appropriate.

                                            STATE CLAIMS

                                                COUNT V

                                False Imprisonment/Arrest-State Tort
                                       (Defendant Bohnenblust)

     59. NICHOLSON incorporated paragraphs 1-31 as if fully pled herein.

     60. The initial detention of NICHOLSON by Defendant BOHNENBLUST was illegal as there

  existed no probable cause to detain or arrest NICHOLSON.

     61. The detention and arrest of NICHOLSON was done against his will.

     62. As a direct and proximate result of the illegal detention and false imprisonment of

  NICHOLSON by Defendant BOHNENBLUST, NICHOLSON suffered physical injury, either

  temporary or permanent in nature, loss of income, loss of enjoyment of life, reputational damage,

  humiliation, and emotional harm, all resulting in loss of future earning capacity.

         WHEREFORE, NICHOLSON seeks entry of this Court’s order of final judgment against

  Defendant BOHNENBLUST for all damages incurred, costs, and such other relief as the Court

  deems just and proper.

                                               COUNT VI

                        Intentional Infliction of Emotional Distress-State Tort
                                       (Defendant Bohnenblust)



                                                  11
Case 1:22-cv-21268-JLK Document 1 Entered on FLSD Docket 04/24/2022 Page 12 of 16




     63. NICHOLSON hereby incorporates paragraphs 1-31 as if fully pled herein.

     64. The actions of Defendant BOHNENBLUST in determining to arrest NICHOLSON were

  an unlawful and corrupt abuse and usurpation of their his oath to uphold the laws of the State of

  Florida and the United States.

     65. Likewise, Defendant BOHNENBLUST used the color of law of authority, using police

  powers to intentionally cause pain and suffering to NICHOLSON by violently grabbing and

  throwing him to the floor causing injury to his left knee and causing him to be arrested and placed

  in handcuffs.

     66. At the time of his actions, Defendant BOHNENBLUST was aware of the injury being

  inflicted upon NICHOLSON and purposely chose to continue causing NICHOLSON to suffer.

     67. Defendant BOHNENBLUST’s conduct caused long term physical injury and severe

  emotional distress to NICHOLSON.

     68. Defendant BOHNENBLUST’s conduct alleged herein was a deliberate or reckless

  infliction of mental suffering.

     69. By doing the acts complained of herein, Defendant BOHNENBLUST’s conduct and

  actions were outrageous.

     70. Defendant BOHNENBLUST’s conduct was a direct and proximate cause of the emotional

  distress inflicted upon NICHOLSON.

     71. Defendant BOHNENBLUST’s conduct complained of herein caused NICHOLSON severe

  Distress which required NICHOLSON to see a therapist.

         WHEREFORE, NICHOLSON seeks entry of this Court’s order of final judgment against

  Defendant BOHNENBLUST for compensatory damages, costs, and such other relief that the Court

  deems just and proper.



                                                  12
Case 1:22-cv-21268-JLK Document 1 Entered on FLSD Docket 04/24/2022 Page 13 of 16




                                               COUNT VII

                                     Assault and Battery-State Tort
                                       (Defendant Bohnenblust)

     72. NICHOLSON hereby incorporates paragraphs 1-31 as if fully pled herein.

     73. On May 23, 2018, Defendant BOHNENBLUST did touch or strike NICHOLSON in an

  offensive manner against his will and without his consent by violently grabbing him and forcefully

  throwing him to the floor without legal cause.

     74. In doing so, Defendant BOHNENBLUST caused temporary or permanent injury to

  NICHOLSON’s left knee.

     75. As a direct and proximate result of the force used by Defendant BOHNENBLUST in

  grabbing and throwing NICHOLSON to the floor, NICHOLSON suffered extreme pain and

  suffering.

     WHEREFORE, NICHOLSON seeks entry of this Court’s order of final judgment against

  Defendant BOHNENBLUST for all damages incurred, attorneys’ fees, costs, and such other relief

  that the Court deems just an proper.

                                            COUNT VIII
                               Claim for Respondeat Superior Liability
                                   (Defendant CITY OF MIAMI)

     76. NICHOLSON hereby incorporates paragraphs 1-31 as if fully pled herein.

     77. Subject to certain statutory limitations, the Defendant CITY OF MIAMI is liable for the

  negligent or wrongful acts of its employees while acting within the scope of their office or

  employment to the same extent as a private employer.

     78. At all times material hereto, Defendant BOHNENBLUST committed the torts of assault

  and battery, false imprisonment and intentional infliction of emotional distress while acting within

  the course and scope of his employment as an employee with the Defendant CITY OF MIAMI.

                                                   13
Case 1:22-cv-21268-JLK Document 1 Entered on FLSD Docket 04/24/2022 Page 14 of 16




      79. One statutory limitation on imposing respondeat superior liability of the Defendant CITY

  OF MIAMI is that it “shall not be liable in tort for the acts or omissions of an officer, employee,

  or agent committed while acting outside the scope of her or his employment or committed in bad

  faith or with reckless purpose or in a manner exhibiting willful and wanton disregard of human

  rights, safety, or property.”

      80. As permitted by Fed. R. Civ. P 8(d), in the alternative to the contrary allegations set forth

  in this Complaint, NICHOLSON alleges that the Defendant BOHNENBLUST did not commit the

  above-mentioned torts of assault and battery, false imprisonment, intentional infliction of

  emotional distress in bad faith or with malicious purpose, or in a manner exhibiting willful and

  wanton disregard of human rights, safety, or property.

      81. Accordingly, respondeat superior liability ought to be imposed on the Defendant CITY OF

  MIAMI for Defendant BOHNENBLUST’s acts of assault and battery, false imprisonment and

  intentional infliction of emotional distress to the extent provided by law.

          WHEREFORE, NICHOLSON seeks judgment against Defendant CITY OF MIAMI for

  compensatory damages, costs, and such other relief deemed just and proper by this Court.

                                                COUNT IX

                         Claim for Negligent Supervision or Retention
        (Defendant CITY OF MIAMI and Defendant COLINA in his individual capacity as
                                     Chief of Police)


      82. NICHOLSON hereby incorporates paragraphs 1-31 as if fully pled herein.

      83. At all times material hereto Defendant CITY OF MIAMI and Defendant COLINA had a

  duty to protect the citizenry, including NICHOLSON, from City of Miami police officers, who

  were unfit to perform the tasks or functions within their discretionary authority.

      84. Prior to May 23, 2018 Defendant CITY OF MIAMI and Defendant COLINA knew, or

                                                   14
Case 1:22-cv-21268-JLK Document 1 Entered on FLSD Docket 04/24/2022 Page 15 of 16




  should have known, of a pattern of violations of rules and regulations by Defendant

  BOHNENBLUST resulting in abuses of civil rights against the public.

      85. Based on the pattern of rights violations prior to May 23, 2018, it was reasonably

  foreseeable to Defendant CITY OF MIAMI and Defendant COLINA that Defendant

  BOHNENBLUST would continue to violate rules and regulations resulting in such abuses.

      86. Despite this knowledge Defendant CITY OF MIAMI and Defendant COLINA failed to

  take any sufficient corrective actions so as to prevent future violations, including the violations of

  NICHOLSON’s constitutional and legal rights as alleged herein. Consequently, these defendants

  breached the duty owed to NICHOLSON.

      87. As a direct and proximate cause of Defendant CITY OF MIAMI’s and Defendant

  COLINA’s failure to adequately supervise Defendant BOHNENBLUST, and their decision to

  retain Defendant BOHNENBLUST, despite the foreseeable consequences of the rights violations,

  NICHOLSON has suffered injury in the form of physical and emotional injury, financial and

  reputational injury, and loss of future income earning capacity,

          WHEREFORE, NICHOLSON seeks entry of this Court’s order of final judgment against

  Defendants CITY OF MIAMI and COLINA for all damages incurred, attorneys’ fees, costs, and

  such other relief that the Court deems just an proper.

                                     DEMAND FOR JURY TRIAL

          As to each count and claim herein, which is so trial, the Plaintiff JAMES NICHOLSON

  seeks a trial by jury.

                                                 Respectfully submitted this April 24, 2022.




                                                   15
Case 1:22-cv-21268-JLK Document 1 Entered on FLSD Docket 04/24/2022 Page 16 of 16




                                  By: /s/Roderick D. Vereen, Esq.
                                      Roderick D. Vereen, Esq.
                                      Florida Bar No: 869589

                                      Law Office of Roderick D. Vereen, Esq., P.A.
                                      P.O. Box 68-0697
                                      Miami, Florida 33168
                                      Tel: (786) 391-1751
                                      Fax: (786) 409-3113
                                      Email: Vereen2469@aol.com




                                        16
